                        Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 1 Fulton
                                                                                  of 25 County Superior Court
                                                                                                                                      ***EFILED***LW
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                                                                                                                            Cathelene Robinson, Clerk
                                  General Civil and Domestic Relations Case Filing Information Form

                                       E’guperior or D State Court of            FM LTD N                    County
             For Clerk Use Only
                                      2/5/2021
             Date Filed                                                     Case Number          2021CV345500
                                      MM-DD-YYYY

P‘laintiff(s)                                                                  Defendant(s)
Ca
Last                    First
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                                          Middle   I.     Suffix   Preﬁx                 First  Middle Sufﬁx  Prefix   I.
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Plaintiff's Attorney              I   igﬂ‘d 5 3m a2. State Bar Number 6+;i30                                           Self-Represented D
                                Check one case type and one sub-type in the same box (if a sub-type applies):



         W“                       Cases
                         Automobile Tort                                                Domestic Relations Cases
                                                                                        U
         Un—




                         Civil Appeal                                                         Adoption
                         Contem pt/Modification/Other                                   D     Contempt
                         Post-Judgment                                                        D Non-payment of child support,
                                                                                              medical support, or alimony
       UDDDUDUUDDD




                         Contract
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                         Gamishment                                                           Dissolution/Divorce/Separate
                         General Tort                                                         Maintenance/Alimony
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                         Habeas Corpus                                                        Family Violence Petition
                         Injunction/Mandamus/Other Writ                                       Modification
                         Landlord/Tenant                                                      D Custody/Parenting Time/Visitation
                                                                                       DUDE




                         Medical Malpractice Tort                                             Paternity/Legitimation
                         Product Liability Tort                                               Support — lV-D
                         Real Property                                                        Support - Private (non-lV-D)
                         Restraining Petition                                                 Other Domestic Relations
                         Other General Civil

D       Check if the action is related to another action pending or previously pending in this court
                                                                                                     involving some or all of
        the same: parties, subject matter, or factual issues. If so, provide a case number for each.


                         Case Number                                          Case Number

D        hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
         I


        redaction of personal or confidential information in OCGA § 9-11-7.1.

D        Is a        foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                                        Language“) Required

D       Do you or your client need any disability accommodations? If so, please describe the accommodation
                                                                                                           request.


                                                                                                                                     Version 1.1.20
                        Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 2 Fulton
                                                                                  of 25 County Superior Court
                                                                                                                ***EFILED***LW
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                                                                                                      Cathelene Robinson, Clerk

                                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                                STATE OF GEORGIA
                  ALONZO CULLINS,                                )
                                                                 )
                           Plaintiff,                            )
                  v.
                                                                 )       Civil Action File No.:     2021CV345500
                                                                 )
                  SWIFT TRANSPORTATION, CO. INC. )
                  M.S CARRIERS, INC. and JOHN DOE, )
                  DRIVER,                          )
                                                                 )
                           Defendants.                           )
                                                                 l

                                              COMPLAINT FOR DAMAGES
                           COMES NOW, Alonzo Cullins, Plaintiff in the above-styled case        and hereby ﬁle

                 this Complaint for Damages as follows:


                                         PARTIES, JURISDICTION AND VENUE
                                                                1.


                          Plaintiff Alonzo Cullins is an individual and is a resident of Fulton County,

                 Georgia, and is subject to the jurisdiction of this Court.

                                                                2.

                          Defendant Swift Transportation, Co., Inc. (“Swift”) is a foreign for-proﬁt

                 corporation with a principal place of business located at 2200 S. 75th Avenue, Phoenix,

                 Arizona 85043. Swift does business within the state of Georgia and is subject to the

                 jurisdiction of this Court Via the Georgia long-arm statute.   A copy of this Complaint for

                 Damages may be served upon this Defendant at its principal place of business, i.e., 2200

                 S. 75th Avenue, Phoenix, Arizona 85043.




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                          M.S. Carriers, Inc. is foreign for-proﬁt corporation with a
                                                                                      principal address of
                 1940 E. Brooks Rd., Suite 20, Memphis, Tennessee 38116-3645
                                                                             and is subject to the

                jurisdiction of this court Via the Georgia long arm statute. M.S. Carriers
                                                                                           may be served
                with a copy of this Complaint for Damages at its
                                                                 principal place of business located at

                1940 E. Brooks Rd., Suite 20, Memphis, Tennessee 38116-3645.


                                                              4.

                         Defendant John Doe is an unknown truck driver
                                                                       employed by Swift and/or M.S.

                Carriers at the time of the collision which is the
                                                                   subject matter of this lawsuit (“John

                Doe”).

                                                              5.

                         Jurisdiction and venue are appropriate in this county as the incident which is the

                subject matter of this lawsuit occurred in this county.

                                             CERTIFICATE OF TIMELINESS
                                                              6.

                         Plaintiff hereby incorporates and realleges the allegations in
                                                                                        Paragraphs 1-5 of

               this Complaint.

                                                             7.

                         The Collision occurred on October 8, 2018. The original statute of limitations

               would have been on October 8, 2020, however, pursuant to the
                                                                            Supreme Court of

               Georgia’s multiple Judicial Emergency Orders, the statute of limitations was stayed on

               March 14, 2020 due to the Covid-19 pandemic. The
                                                                Georgia Supreme Court lifted the

               stay on   July   14, 2020, aﬁer one hundred and twenty-two (122) days. The Georgia




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                  Supreme Court’s Orders extended the statute of limitations for cases such as this for 122

                 days as a result   of the Judicial Emergency.

                                                                     8.


                          Accordingly, the Plaintiff would have until the new deadline, i.e., one hundred

                 and twenty-two (122) days from October 8, 2020 or until February 7, 2021 to
                                                                                             timely ﬁle
                 this lawsuit.

                                                                     9.


                          Accordingly, the Plaintiff’s Complaint is timely ﬁled on February 5, 2021.
                                                                                                              102+-
                                          FACTS RELEVANT TO ALL COUNTS                                      “1+. q
                                                                 1   O.


                          Plaintiff hereby incorporates and realleges the allegations in Paragraphs 1-9 of

                 this Complaint.

                                                                 11.

                          On October 8, 2018, Plaintiff Alonzo Cullins was a passenger in a vehicle driven

                 by Henry Otis Phillips, driving on I-285E at the Cobb/Fulton border within Fulton

                 County, when that vehicle was hit by a tractor trailer driven by Defendant John Doe truck

                 driver (the “Collision”).

                                                                 12.

                          Before his information could be given to the police ofﬁcer, the unknown John

                 Doe truck driver left the scene of the Collision.

                                                                 1   3.

                          Plaintiff Alonzo Cullins gave the following information related to the tractor

                 trailer to the police ofﬁcer, aﬁer John Doe had ﬂed the scene:




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                        Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 5 of 25



                            Owner: M.S. Carriers

                           Registration No.: 583284

                           Tag: 4HX2396

                                                                 14.

                           Upon information and belief, Defendant John Doe was
                                                                               driving the tractor trailer
                  for Defendant M.S. Carriers and/or Swift
                                                           at the time of the Collision and was
                                                                                                acting in
                  the course and scope      of his employment with these Defendants when he
                                                                                            caused the
                  Collision.

                                                                15.

                           Upon information and belief, M.S. Carriers was
                                                                          bought out by Swift following the
                 date   of the Collision.

                                                         COUNT ONE

                                                        NEGLIGENCE

                                              (AGAINST ALL DEFENDANTS)
                                                                16.

                          Plaintiff hereby incorporates and
                                                            realleges the allegations in Paragraphs 1-15 of

                 this Complaint.


                                                               l7.

                          Defendant John Doe drove the tractor trailer in a negli
                                                                                 gent manner, thereby

                 causing the impact that caused the Plaintiff to suffer serious phys
                                                                                     ical injuries.

                                                               18.

                          Defendants maintained the tractor trailer in a
                                                                         negligent manner, thereby causing

                the impact that caused the   Plaintiff to suffer serious physical injuries.




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                                                                19.


                          Defendants inspected the tractor trailer in a negligent manner, thereby causing the

                 impact that caused the Plaintiff to suffer serious physical injuries.

                                                                20.

                          Upon information and belief, Defendants Swift and M.S. Carriers were negligent

                 in failing to inspect and/or maintain its vehicles, including the tractor trailer, to avoid

                 their injuring members    of the public, such as the Plaintiff.

                                                                21.

                          Defendants’ negligence caused the serious physical injuries suffered by the

                 Plaintiff.

                                                                22.

                          Defendant John Doe was working for Defendants M.S. Carriers and/or Swift in

                 the scope and course    of his employment at the time that the Plaintiff was injured.

                 Accordingly, M.S. Carriers and/or Swift are liable for the negligence of Defendant John

                 Doe pursuant to the Respondeat Superior doctrine.

                                                                23.

                          Plaintiff further alleges that Defendant John Doe is guilty of the following acts of

                 common-law negligence per-se, and that each such negligent action and omission was the

                 direct and proximate cause of the accident and resulting injuries of the Plaintiff.

                          a.   Failed to keep proper outlook ahead; and

                          b.   Failed to keep his vehicle under proper control; and




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                        Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 7 of 25



                          h.   Diminution of value of Plaintiff vehicle and loss of use thereof;

                                                                 25.

                          Plaintiff avers that all the foregoing injuries, loses and damages were directly and

                 approximately caused by the negligence of Defendants.

                                                          COUNT TWO

                                                      PUNITIVE DAMAGES

                                                                 26.

                          Plaintiff hereby incorporates and realleges the allegations in Paragraphs 1-25 of

                 this Complaint.

                                                                 27.

                          The Defendants’ respective acts of negligence were so wanton and of an

                 outrageous nature so as to shock the enlightened conscience        of a reasonable person, and,

                 therefore, the Defendants are each liable to Plaintiff for punitive damages in an amount to

                 be determined by the jury, but no less than $250,000.00.



                                                         COUNT THREE

                                              ATTORNEY’S FEES AND EXPENSES
                                                                 28.

                          Plaintiff hereby repeats and re-alleges Paragraphs 1-27 of Plaintiff’s Complaint as

                 if fully set forth herein.
                                                                 29.

                          Plaintiff is entitled to recover from Defendants his attorney’s fees and expenses

                 for litigation in this proceeding.

                                                                 30.




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                              Plaintiff hereby demands a trial by jury as to all issues which a
                                                                                                jury may properly
                  consider.


                              WHEREFORE, Plaintiffs prays the Court as follows:
                  1.    For judgment against the Defendants in favor of Plaintiff
                                                                                  in an amount to be determined

                        by a trier of this matter;

                 2.     For punitive damages and for
                                                     attorney’s fees;

                 3.     For recovery of Plaintiff’s costs herein;

                 4.     For the recovery of the diminution of value of Plaintiffs vehicle and
                                                                                                loss of use thereof;

                 5.     For such other relief as may seem                                if found to be appropriate;
                                                          proper and attomey’s fees

                        and

                 6.     Trial is hereby demanded as to all issues so triable.

                                     S‘ﬂ‘

                                                                       >2?
                              This          day of February, 2021.




                                                                    ME          Baum,   Esq/
                                                                    Attorney for Plaintiff
                 The Baum Law Firm
                                                                     Georgia State Bar No. 042430
                  1570 Warsaw Road
                 Roswell, Georgia 30076
                 (678) 795-1304
                 (678) 795-1308/fax




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                                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                                      STATE OF GEORGIA
              ALONZO CULLINS,                )
                                             )
                   Plaintiff,                )
              v.
                                             )                          Civil Action File No.: 2021CV345500
                                             )
              SWIFT TRANSPORTATION CO., INC, )
              M.S CARRIERS and JOHN DOE,     )
                                             )
                   Defendants.               )
                                                               )


                                               CERTIFICATE OF TIMELINESS
                                                                   1.


                        The Collision occurred on October 8, 2018. The original statute of limitations would have

              been on October 8, 2020, however, pursuant to the                      of Georgia’s multiple Judicial
                                                                Supreme Court

              Emergency Orders, the statute of limitations was stayed on March 14, 2020 due to the Covid-19

              pandemic. The Georgia Supreme Court lifted the stay on July 14, 2020, after one hundred and

              twenty-two (122) days. The Georgia Supreme Court’s Orders extended the statute of limitations

              for cases such as this for 122 days as a result of the Judicial Emergency.

                                                                   2.


                        Accordingly, the Plaintiff would have until the new deadline to ﬁle this lawsuit, i.e., one

              hundred and twenty-two (122) days from October 8, 2020 or until
                                                                              February 7, 2021.




                                                              3)
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                    Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 10 of 25




            Accordingly, the Plaintiff’ s Complaint is timely ﬁled on February 5, 2021.

                   RESPECTFULLY SUBMIITED thig’l‘L              day of February, 2021.

                                                                        TH     AUM          FIR
                                                                                     A
                                                                                             I /-
                                                                        Daﬁd’lf. Baum, Esci
                                                                        Ga. Bar No.: 042430
                                                                        Attorney for Plaintiff
            1570 Warsaw Road
            Roswell, Georgia 30076
            404-428-4426




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       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 11Fulton
                                                                  of 25County Superior Court
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                                                                            Date: 5/13/2021 1:00 PM
                                                                           Cathelene Robinson, Clerk




              IN THE SUPERIOR COURT OF FULTON COUNTY
                          STATE OF GEORGIA

ALONZO CULLINS,                            )
                                           )
       Plaintiff,                          )         CIVIL ACTION FILE
                                           )         NO. 2021CV345500
v.                                         )
                                           )
SWIFT TRANSPORTATION, CO.                  )
INC., M.S. Carriers, Inc., and JOHN        )
DOE DRIVER,                                )
                                           )
       Defendants.                         )

  STIPULATION EXTENDING TIME FOR DEFENDANTS TO ANSWER

      COME NOW plaintiff and defendants and, pursuant to O.C.G.A. § 9-11-6(b),

hereby stipulate and agree that the time for defendants to answer or otherwise

respond to plaintiff's complaint is hereby extended to and including June 28, 2021.

All defenses as to jurisdiction, process, service of process, and venue are preserved.


                                       THE BAUM LAW FIRM
                                       /s/ David E. Baum
                                       David E. Baum (by Dustin S. Sharpes with
                                       express permission)
                                       Georgia Bar No. 042430
                                       Attorneys for Plaintiff
1570 Warsaw Road
Roswell, GA 30076
(678) 795-1304 (telephone)
(678) 795-1308 (facsimile)
      Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 12 of 25




                                   STONE KALFUS LLP

                                   /s/ Dustin S. Sharpes
                                   Matthew P. Stone
                                   Georgia Bar No. 684513
                                   Shawn N. Kalfus
                                   Georgia Bar No. 406227
                                   Dustin S. Sharpes
                                   Georgia Bar No. 522995
                                   Attorneys for Defendants

One Midtown Plaza
1360 Peachtree Street NW, Suite 1250
Atlanta, GA 30309
(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)




                                       -2-
      Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 13 of 25




                         CERTIFICATE OF SERVICE

      This is to certify that I have this date served the foregoing STIPULATION

EXTENDING TIME FOR DEFENDANTS TO ANSWER upon all judges, clerks, and

opposing counsel to the Clerk of Court electronically using the Odyssey eFileGA

system, which will automatically send e-mail notification of such filing to counsel

of record and others who are Odyssey eFileGA participants. Counsel of record is as

follows:

                         David E. Baum, Esq.
                         The Baum Law Firm
                         1570 Warsaw Road
                         Roswell, GA 30076

      This 13th day of May, 2021.

                                             /s/ Dustin S. Sharpes
                                             Dustin S. Sharpes
                                             Georgia Bar No. 522995

STONE KALFUS LLP
One Midtown Plaza
1360 Peachtree Street NE
Suite 1250
Atlanta, GA 30309
(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)




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       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 14Fulton
                                                                  of 25County Superior Court
                                                                                    ***EFILED***MH
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                                                                           Cathelene Robinson, Clerk




              IN THE SUPERIOR COURT OF FULTON COUNTY
                          STATE OF GEORGIA

ALONZO CULLINS,                            )
                                           )
       Plaintiff,                          )          CIVIL ACTION FILE
                                           )          NO. 2021CV345500
v.                                         )
                                           )
SWIFT TRANSPORTATION, CO.                  )
INC., M.S. CARRIERS, INC. and              )
JOHN DOE DRIVER,                           )
                                           )
       Defendants.                         )

                    DEFENDANTS' ANSWER AND DEFENSES

      COME NOW defendants, by way of special appearance and without waiving

but specifically reserving all defenses as to jurisdiction and venue, and answer

plaintiff's complaint for damages as follows:

                                 FIRST DEFENSE

      Plaintiff's complaint fails to state a claim against defendants upon which relief

can be granted.

                                SECOND DEFENSE

      Responding to the specifically numbered paragraphs of plaintiff's complaint,

defendants answer as follows:
       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 15 of 25




                     PARTIES, JURISDICTION AND VENUE

                                          1.

      Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations in this paragraph of the complaint.

                                          2.

      Defendants deny the allegations in this paragraph of the complaint.

                                          3.

      Defendants deny the allegations in this paragraph of the complaint.

                                          4.

      Defendants deny the allegations in this paragraph of the complaint.

                                          5.

      Defendants deny the allegations in this paragraph of the complaint.

                         CERTIFICATE OF TIMELINESS

                                          6.

      Defendants incorporate their responses to the preceding paragraphs of the

complaint as if set forth fully herein.

                                          7.

      Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations in this paragraph of the complaint.

                                          -2-
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                                           8.

      Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations in this paragraph of the complaint.

                                           9.

      Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations in this paragraph of the complaint.

                      FACTS RELEVANT TO ALL COUNTS

                                          10.

      Defendants incorporate their responses to the preceding paragraphs of the

complaint as if set forth fully herein.

                                          11.

      Responding to the allegations in this paragraph of the complaint, defendants

deny any of their tractor-trailers or employees were involved in the subject accident;

otherwise, defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                          12.

      Responding to the allegations in this paragraph of the complaint, defendants

deny any of their tractor-trailers or employees were involved in the subject accident;



                                          -3-
       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 17 of 25




otherwise, defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                          13.

      Defendants are without sufficient information or knowledge to form a belief

as to the truth of the allegations in this paragraph of the complaint.

                                          14.

      Defendants deny the allegations in this paragraph of the complaint.

                                          15.

      Defendants deny the allegations in this paragraph of the complaint.

                                COUNT ONE
                                NEGLIGENCE
                         (AGAINST ALL DEFENDANTS)

                                          16.

      Defendants incorporate their responses to the preceding paragraphs of the

complaint as if set forth fully herein.

                                          17.

      Responding to the allegations in this paragraph of the complaint, defendants

deny any of their tractor-trailers or employees were involved in the subject accident;

otherwise, defendants are without sufficient information or knowledge to form a

belief as to the truth of the allegations in this paragraph of the complaint.

                                          -4-
       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 18 of 25




                                         18.

      Defendants deny the allegations in this paragraph of the complaint.

                                         19.

      Defendants deny the allegations in this paragraph of the complaint.

                                         20.

      Defendants deny the allegations in this paragraph of the complaint.

                                         21.

      Defendants deny the allegations in this paragraph of the complaint.

                                         22.

      Defendants deny the allegations in this paragraph of the complaint.

                                         23.

      Responding to the allegations in this paragraph of the complaint, including

subparagraphs (a), (b), and (h), defendants deny any of their tractor-trailers or

employees were involved in the subject accident; otherwise, defendants are without

sufficient information or knowledge to form a belief as to the truth of the allegations

in this paragraph of the complaint, including all subparagraphs.




                                         -5-
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                                          25.1

        Defendants deny the allegations in this paragraph of the complaint.

                                  COUNT TWO
                               PUNITIVE DAMAGES

                                          26.

        Defendants incorporate their responses to the preceding paragraphs of the

complaint as if set forth fully herein.

                                          27.

        Defendants deny the allegations in this paragraph of the complaint.

                              COUNT THREE
                       ATTORNEY'S FEES AND EXPENSES

                                          28.

        Defendants incorporate their responses to the preceding paragraphs of the

complaint as if set forth fully herein.

                                          29.

        Defendants deny the allegations in this paragraph of the complaint.




1
    Plaintiff's complaint does not contain a paragraph number 24.

                                          -6-
       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 20 of 25




                                         30.

      Responding to the allegations in this paragraph of the complaint, defendants

admit plaintiff makes a demand for jury trial. Except as expressly admitted,

defendants deny the allegations in this paragraph of the complaint and deny plaintiff

is entitled to any relief from them under any theory, at law or in equity.

                                         31.

      Responding to the allegations in the unnumbered paragraph following

paragraph 30 of the complaint, which begins "WHEREFORE" and constitutes

plaintiff's prayer for relief, including those set forth in subparagraphs (1) through

(6), defendants deny plaintiff is entitled to any relief from them under any theory, at

law or in equity.

                                         32.

      Except as expressly admitted or otherwise responded to, defendants deny all

allegations in the complaint.

                                 THIRD DEFENSE

      There has been an insufficiency of process as to defendants; therefore, this

Court lacks personal jurisdiction over them.




                                         -7-
       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 21 of 25




                                FOURTH DEFENSE

      There has been an insufficiency of service of process as to defendants;

therefore, this Court lacks personal jurisdiction over them.

                                 FIFTH DEFENSE

      This Court lacks personal jurisdiction over defendants.

                                 SIXTH DEFENSE

      Venue is improper as to defendants.

                               SEVENTH DEFENSE

      Defendants did not breach any duty owed to plaintiff.

                                EIGHTH DEFENSE

      No act or omission of defendants, their agents, or employees proximately

caused or contributed to any injuries or damages allegedly incurred by plaintiff;

therefore, plaintiff has no right of recovery against defendants.

                                 NINTH DEFENSE

      Any injuries or damages sustained by plaintiff were the sole, direct, and

proximate result of the conduct of others, including but not limited to plaintiff, and

no alleged act by defendants or their employees or agents caused or contributed to

the incidents described in the complaint.



                                         -8-
       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 22 of 25




                                TENTH DEFENSE

      Plaintiff's claims are barred by the applicable statutes of limitation.

                              ELEVENTH DEFENSE

      The imposition of punitive damages against defendants would violate their

rights under the Due Process Clauses of the Fourteenth Amendment to the United

States Constitution and the Georgia Constitution.

                               TWELFTH DEFENSE

      The statutes of the State of Georgia that authorize the imposition of punitive

damages are contrary, by their express terms and as applied to defendants in this

action, to the United States and Georgia Constitutions, and the imposition of punitive

damages against defendants in this action is therefore barred inasmuch as the statutes

allow for deprivations of property without due process of law, violate the equal

protection of the laws by providing fewer protections for civil litigants than the

criminal statutes that provide for the imposition of monetary fines, and impose an

excessive fine.

                             THIRTEENTH DEFENSE

      To the extent as may be shown applicable by the evidence through discovery,

defendants assert the affirmative defenses of accord and satisfaction, arbitration and

award, assumption of the risk, contributory/comparative negligence, duress, failure

                                         -9-
       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 23 of 25




of consideration, fraud, illegality, injury by fellow servant, laches, license, payment,

release, res judicata, statute of frauds, statute of limitations, failure of plaintiff to

avoid consequences, failure of plaintiff to mitigate damages, discharge in

bankruptcy, estoppel, last clear chance, and waiver.

                             FOURTEENTH DEFENSE

      Defendants reserve the right to plead additional defenses as become known to

them through investigation and discovery.

      WHEREFORE, having fully listed their defenses and having fully answered

the complaint, defendants pray as follows:

      (a)     That judgment be entered in favor of defendants and against plaintiff

on the complaint;

      (b)     That the costs of this action, including attorney's fees be cast against

plaintiff; and

      (c)     That the Court grant such other and further relief as it may deem just

and proper.

                                                  STONE KALFUS LLP

                                                  /s/ Dustin S. Sharpes
                                                  Matthew P. Stone
                                                  Georgia Bar No. 684513
                                                  Shawn N. Kalfus
                                                  Georgia Bar No. 406227

                                         - 10 -
      Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 24 of 25




                                            Dustin S. Sharpes
                                            Georgia Bar No. 522995
                                            Attorneys for Defendants

One Midtown Plaza
1360 Peachtree Street NE
Suite 1250
Atlanta, GA 30309
(404) 736-2600 (telephone)
(877) 736-2601 (facsimile)

               DEFENDANTS DEMAND A TRIAL BY JURY




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       Case 1:21-cv-02610-JPB Document 1-1 Filed 06/28/21 Page 25 of 25




                         CERTIFICATE OF SERVICE

      This is to certify that on June 28, 2021, I served the foregoing DEFENDANTS'

ANSWER AND DEFENSES upon all judges, clerks, and opposing counsel to the

Clerk of Court electronically using the Odyssey eFileGA system, which will

automatically send e-mail notification of such filing to counsel of record and others

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